Case 8:23-cv-01393-PX Document 1-2 Filed 05/24/23 Page 1 of 2

EXHIBIT A

Case 8:23-cv-01393-PX Document 1-2 Filed 05/24/23 Page 2 of 2

IN THE U.S. DISTRICT COURT

STATE OF MARYLAND

UNITED STATES CASE NUMBER
Plaintiff JFM 06 0550

Vv.

HESMAN TALL

Former Pro Se Defendant

CERFTIFICATION OF PREVIOUSLY SEALED RECORD
ORDER

This Order hereby certifies the GRANTING of the Government's
Letter SEALING the File and Record which was Granted on
February 24 , 2013 ( Docket Number 46 ) and also Certifies
the GRANTING of aPAPERLESS ORDER which was Electronically

Signed on February 19 , 2013 ( Docket Number 48 )

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baci ww"
DATE

Page 1 of 1
